             2:19-cv-02277-SLD # 8      Page 1 of 1




                                UNITED STATES DISTRICT COURT
                                    Northern District of Illinois
                                    219 South Dearborn Street
                                      Chicago, Illinois 60604

Thomas G. Bruton                                                                     312-435-5670
Clerk


October 17, 2019

Illinois Central District Court
United States Courthouse
201 South Vine Street, Room 218
Urbana, IL 61801-9919

Re: Burns v. State of Illinois, The et al

USDC Case Number: 19-cv-4353

Dear Clerk:

Pursuant to the order entered by Honorable Ellis, on 10/17/2019, the above record was

                       electronically transmitted to Central District of Illinois, Urbana Division

                       paper documents were sent via certified mail to


Please acknowledge receipt of any paper documents on the enclosed copy of this letter.


                                                      Sincerely,
                                                      Thomas G. Bruton, Clerk

                                                      By:     /s/ P. Harrison
                                                              Deputy Clerk


New Case No. ____________________________                    Date _____________________


cc:       Non-ECF Attorneys and Pro se Parties




Rev. 09/23/2016
